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                         UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


                                       :
UNITED STATES OF AMERICA               :            NO. 1:06-CR-00111
                                       :
                                       :
            v.                         :            OPINION AND ORDER
                                       :
                                       :
STEVEN E. WARSHAK, et al.              :
                                       :



            This matter is before the Court on two motions, first,

the    government’s      Motion   to   Amend      the   Preliminary   Order    of

Forfeiture to Include Proceeds and Money Laundering Money Judgments

and Substitute Assets (doc. 488), Defendants Berkeley, TCI Media,

and Steven Warshak’s Response in Opposition (doc. 543), Defendant

Paul Kellogg’s Response (doc. 544), Defendant Harriet Warshak’s

Response (doc. 545), and the government’s Reply (doc. 553).                Also

before   the     Court   is   Defendant    Paul    Kellogg’s   Motion    for   an

Evidentiary Hearing with Regards to Sentencing Issues (doc. 561),

and   the   government’s      Response     (doc.   562).     For   the   reasons

indicated herein, the Court GRANTS both motions.

I.    The Government’s Motion

            On March 7, 2008, the Court entered a Preliminary Order

of Forfeiture in this matter as to property found by the jury to

have a nexus to the offenses under both a proceeds theory of

forfeiture and a money laundering theory of forfeiture (doc. 418).

In the instant motion, citing Fed. R. Crim. P. 32.2 and a host of
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case law precedent, the government seeks to amend such Order so as

to specifically hold Defendants jointly and severally liable for

$459,540,000.00 in a proceeds money judgment and for $44,876,781.68

in a money laundering judgment (doc. 488).           The government arrives

at the former figure by citing to an income statement and tax

returns totaling the gross sales for Warshak’s companies during the

period of the Indictment (Id.).            As for the latter figure, the

government    offers     a   money   laundering    transaction     spreadsheet

showing a total of $123,063,156.30 in laundered funds, which it

adjusts downward to $44,876,781.68 so as to avoid double counting

(Id.). The government further seeks to include certain property of

the   Defendants    as   substitute     property    to   satisfy    the   money

judgments, pursuant to Fed. R. Crim. P. 32.2(e) (Id.).                       The

government identifies five bank accounts, four investment accounts,

two accounts receivable, and other property, which it seeks to

preserve for forfeiture (Id.).

II.   Defendants’ Objections

             A.   Berkeley, TCI Media, and Steven Warshak

             Defendants Berkeley, TCI Media, and Steven Warshak oppose

the government’s motion, arguing that it is premature due to the

Court’s May 14, 2008 announcement that it would make no further

decisions relating to forfeiture until the time of sentencing (doc.

543).    Defendants contend it is inappropriate to grant such an

amendment until the Court makes a determination of the appropriate


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amount of forfeitures to be ordered (Id.).              Defendants argue the

government has failed to prove its entitlement to the forfeiture of

assets, and instead merely advances the faulty proposition that all

of Berkeley’s revenues during the period of the Indictment were the

product of the fraudulent conduct charged (Id.).

            Defendants argue the Sixth Circuit has not held that

forfeiture money judgments are permissible in criminal cases, and

further argue that Fed. R. Crim. P. 32.2 does not authorize such

judgments (Id.).     Citing United States v. Croce, 334 F.Supp.2d 781

(E.D. Pa), amended on reconsideration, 345 F.Supp.2d 492 (E.D. Pa.

2004), rev’d 209 Fed. Appx. 208 (3rd Cir. 2006), and United States

v. Day, 416 F.Supp.2d 79 (D.D.C. 2006), rev’d 2008 WL 1988789 (D.C.

Cir. May 9, 2008), Defendants argue the Court should find the

forfeiture money judgments are not authorized under 18 U.S.C. § 982

(Id.).     Defendants further argue the Advisory Committee Notes to

Rule 32.2(b)(1) and (c)(1) strongly suggest that it is in question

whether courts have the power to order forfeiture money judgments

(Id.).

            Defendants     next    argue     they    have    made    extensive

submissions to the Court refuting the government’s position that

all   of   Berkeley’s     revenues    were    derived    from    fraud    (Id.,

incorporating by reference docs. 481, 542).                 Even should some

portion of Berkeley’s revenues be determined to be the product of

fraud, Defendants argue, they should be entitled to credit for


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refunds they gave to more than 400,000 customers, for the amount

they have paid to settle civil litigation against Berkeley, for the

amounts they incurred in shipping costs and for the costs of the

products themselves (doc. 543).         As for the money laundering money

judgment,     Defendants    similarly       argue    entry   of   judgment    is

premature, and incorporate arguments that commingling of funds in

this case did not make them any more difficult to trace (Id. citing

doc. 481).

             The question of substitute assets is similarly premature,

argue   Defendants,     because    unless    the    amount   of   the   ultimate

forfeiture order exceeds the value of the assets subject to the

preliminary order of forfeiture, the substitute assets will not

come into play (Id.).         Defendants further argue the government

cannot meet its burden of proof under 18 U.S.C. § 853(p) for the

forfeiture    of    substitute    assets    (Id.).     As    such,   Defendants

conclude the Court should deny or hold such request in abeyance

pending a determination of the amount to be forfeited, and the

government has met its burden of proof (Id.).

             B.    Paul Kellogg

             Defendant Paul Kellogg argues the Court should at least

deny the government’s motion to the extent that it seeks to impose

personal liability against him (doc. 544).             Kellogg contends that

he   was    only    named   in    the   forfeiture     proceedings      in   his

representative capacity as trustee for the 2004 Carri E. Warshak


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QTIP Trust and the 2004 Warshak Family Gift Trust, in neither of

which he holds any pecuniary interest (Id.).            Kellogg cites to the

transcript of a sidebar discussion during the February 25, 2008

forfeiture proceedings in which the U.S. Attorney stated he did not

believe Kellogg faced any exposure from his role as trustee for

forfeiting his own assets (Id.). Now, in contrast, Kellogg argues,

the government seeks joint and several liability against him such

that he would bear personal exposure for the money judgments (Id.).

Kellogg argues he reasonably relied on the statement of the U.S.

Attorney and did not participate in the forfeiture proceedings such

that the government should be estopped from bearing individual,

personal liability against him (Id.). Finally, Kellogg argues that

should the trusts be forfeited, his liability would be extinguished

(Id.).

           C.   Harriet Warsak

           Harriet Warshak similarly argues that the government’s

motion is premature, and that holding her jointly and severally

liable for more than $450 million or even $44 million constitutes

a punishment grossly disproportional to the gravity of her offense

(doc. 545).     Harriet Warshak argues she did not reap a benefit

anywhere near such amounts from the scheme, and now the government

seeks to strip her of every asset she owns, even assets left to her

by her deceased husband and assets she earned prior to any of the

events in this case (Id.).


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III.   The Government’s Reply

           The government replies that its motion is ripe for

decision, and that the requested amendment would allow it to take

the steps necessary to conclude the forfeiture proceeding and

resolve third party rights (doc. 553).           In the government’s view,

such amendment would simplify what could prove to be a hotly

contested sentencing hearing (Id.).

           The United States next argues the Court is within its

authority to issue forfeiture money judgments, and that Defendants

err in suggesting the Advisory Committee has struggled with the

question (Id.).     Quoting the Advisory Committee Notes to Fed. R.

Crim. P. 32.2, the government signals the Committee stated “the

court must determine the amount of money that the defendant should

be ordered to forfeit,” language that shows no question that the

Court is within its authority to order forfeiture in the form of a

money judgment (Id.).       The government argues Defendants’ reliance

on the Croce and Day decisions is misplaced, as both were reversed

on appeal, and the Court should instead follow the majority of

courts in concluding forfeiture money judgments are authorized

under 18 U.S.C. § 922 (Id.).

           Next,    the    government      contends     Defendants     have    a

continuing obligation to forfeit money derived from or used to

commit their criminal offenses, whether they retained the money or

not (Id.).    Accordingly, it argues, Harriet Warshak must forfeit


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the one million dollar “gift” her Son gave her in its entirety

(Id.).    It further argues that it established that Defendants were

engaged in a massive fraud scheme that permeated virtually all

aspects   of    Berkeley’s     operations,    thus     justifying     the   money

judgments the government seeks (Id.).

           As    for     substitute    assets,   the     government    contends

forfeiture is mandatory where directly forfeitable property is

unavailable as a result of an act or omission of the Defendant (Id.

citing 21 U.S.C. § 853(p)(2).               Because federal law does not

insulate any property from forfeiture as a substitute asset, the

government     asserts    it   makes   no   difference    whether   Defendants

obtained the property before involvement with the scheme to defraud

(Id. citing United States v. Bollin, 264 F.3d 391, 423 (4th Cir.

2001)).

           Regarding Defendants’ contention that the United States

has not met its burden of proof under Section 853(p) for the

forfeiture of substitute assets, the government responds that such

section does not require the submission of proof in any particular

form (Id.).      In any event, the government asks the Court to

consider that Defendants have represented that Berkeley has had

barely enough money to maintain its operations, and Defendant

Warshak represented that he did not have more money but put it all

back into the company to keep it running (Id.).                 Consequently,

argues the government, the forfeiture of substitute assets in


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advance of sentencing is not premature in this case (Id.).

           As for Paul Kellogg and Harriet Warshak’s arguments on

joint and several liability, the government argues all Defendants

are liable to forfeit the total amount obtained as criminal

proceeds or the amount involved in a money laundering offense (Id.

citing United States v. Corrado, 227 F.3d 543, 554-55 (6th Cir.

2000)).   The government further argues that in order to challenge

the forfeiture as excessive under the Eighth Amendment, the burden

is on Defendants to show the forfeiture of the property in its

entirety is grossly disproportional to the gravity of the offense

(Id. citing United States v. Ahmed, 213 F.3d 805 (4th Cir. 2000).

Here, argues the government, forfeiture is mandatory because the

forfeiture of proceeds is not disproportional (Id. citing United

States v. Four Continguous Parcels, 191 F.3d 461 (6th Cir. 1991)).

As for the money laundering forfeiture, the government argues the

amount it requests is half the amount of the available maximum fine

and   therefore    would    not   violate    the   Eighth     Amendment    (Id.

incorporating by reference doc. 551).           Moreover, should the Court

consider the sophistication of the offense here, the scope and

duration of the scheme, and the length of the potential prison

terms, the forfeiture in this case would not be excessive (Id.).

           The government argues that Kellogg’s reliance on the

sidebar discussion in the forfeiture trial is misplaced because

such conversation only applied to assets for which he was a trustee


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(Id.).   In the government’s view, its request for a money judgment

against Kellogg has nothing to do with the forfeiture hearing or

his status as a trustee, but rather relates to his convictions for

conspiracy to commit money laundering and for substantive money

laundering (Id.).

IV.   Discussion

             The    Court      does   not       find   the   government’s     motion

premature, and rejects Defendants’ position that the Court lacks

authority to order forfeiture in the form of a money judgment.

Defendants rely on an incorrect interpretation of the Advisory

Committee Notes as well as on case law reversed on appeal.                         The

Court is well within its authority to enter a preliminary order of

forfeiture before sentencing.            United States v. Yeje-Cabrera, 430

F.3d 1, 15 (1st Cir. 2005).

             At    the   May    14,   2008      hearing   the    Court    sought   the

assistance    from       the   parties      in    arriving      at   an   appropriate

forfeiture judgment in this case. At the conclusion of the hearing

the Court gave the Defendants the opportunity to brief the issue of

forfeiture so as to justify a forfeiture in this matter less than

one hundred percent.           In response Defendants proffered arguments

they already presented to the jury, as well as “mitigating” figures

that taken together would add up to more than the amount the

government seeks in forfeiture (doc. 542).                           Defendants also

attached a four-page exhibit showing “customer surveys” claiming


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high satisfaction rates with their products.

            Defendants    appear     to    attempt    a    continuation   of    the

litigation of the case.        The Court is unpersuaded by Defendants’

response, which it does not find helpful.                 The Court has reviewed

Defendants’ position based on Better Business Bureau complaints

from December 2003 through July 2005, and finds dubious the

calculation arriving at $194,800 in total losses based on 2,784

complaints (doc. 481).       The Court is convinced that the particular

nature of Defendants’ business undoubtedly resulted in a large

number of embarrassed customers who never lodged any complaints.

Moreover, the class action in the Montgomery County Court of Common

Pleas involves 165,450 class claimant victims suffering a loss of

$21,764,000,    a   figure    that   far       outstrips    those   proffered   by

Defendants.1

            The Civil Asset Forfeiture Reform Act of 2000 (“CAFRA”),

18 U.S.C. § 981(a)(2)(A), defines “proceeds” in cases involving

unlawful activities as “property of any kind obtained directly or

indirectly, as the result of the commission of the offense. . .and

is not limited to the net gain or profit realized from the

offense.”     Under such definition, the Court is not compelled to

attempt to credit Defendants with costs they incurred in operating

their business.



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      June 9, 2008 letter of Jeffrey Goldberg, Esq., to U.S.
Attorney and to U.S. Probation.

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               At trial, the jury found a massive consumer fraud scheme,

and saw evidence that the heart of the Warshak companies’ business

model    was    a   “continuity”   program    that   Defendants    foisted    on

consumers without disclosure.          The Court saw adequate evidence to

support the conclusion that the various schemes of Defendants,

including repeated “dinging” of credit cards, manipulation of

chargeback ratios, false advertising and sales scripts, all taken

together show the Defendants generated huge income in a brief

period of time.         The fact that Defendants now fail in assisting

the Court in arriving at forfeiture figures tied to the various

schemes affirms, in the Court’s view, the government’s position

that the entire operation was permeated with fraud, and that income

generated from fraud cycled through Berkeley operations during the

entire period of the Indictment.              As such the Court finds the

government has met its burden of proof as to the money judgments it

seeks.

               The Court finds well-taken the government’s argument that

Defendants have a continuing obligation to forfeit money derived

from or used to commit their criminal offenses, whether they

retained the money or not.                  As such, keeping in mind the

statements in the record that show assets have dissipated, the

Court is compelled to order the forfeiture of substitute assets, to

the extent that Defendants are unable to satisfy the forfeiture

judgment.       21 U.S.C. § 853(p)(2).       The Court rejects Defendants’


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position that the government has failed to meet its burden of proof

as to substitute assets.

            The Court further finds that joint and several liability

is required in this case, consistent with United States v. Corrado,

227 F.3d 543, 554-55 (6th Cir. 2000).              The Court does not find

persuasive Paul Kellogg’s argument that the government should be

estopped from holding him jointly and severally liable.                The jury

found Kellogg guilty of conspiracy to commit money laundering and

substantive money laundering, verdicts that render Kellogg liable

for the amount involved in the offenses.             18 U.S.C. § 982(a)(1).

The Court similarly rejects Harriet Warshak’s argument that the

forfeiture money judgments the government seeks against her are

grossly disproportional to the gravity of her offenses, so as to

violate the Excessive Fines Clause of the Eighth Amendment. Taking

into account the sophistication of the offenses, the scope and

duration of the scheme, and the length of the potential prison

terms, the money judgment forfeiture does not qualify as excessive.

Under Sixth Circuit precedent, when the amount to be forfeited

amounts to less than the maximum statutory fine for the underlying

criminal offense, no Eighth Amendment concerns are triggered.

United States v. Hill, 167 F.3d 1055, 1072 (6th Cir. 1999). In this

case, Defendants face potential fines of up to $823,463,668 for the

charges in Counts 1-13, 15, 23, 27, 29, and $89,753,563.20 for the




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charges in Counts 30-98 and 102-108.2               Consequently the Court has

no compunction about entering a preliminary order of forfeiture in

the requested amounts, which are substantially below the available

fines.

V.   Defendant Paul Kellogg’s Motion

            Defendant Kellogg moves the Court for an evidentiary

hearing concerning his objections to the portions of the Final

Presentence     Investigation     Report     bearing     specifically      on   the

recommendations for upward departures based on the use of special

skills    and   for   sophisticated         money    laundering    (doc.    561).

Defendant anticipates calling only one witness, Chris Sega, and

introducing a limited number of documents (Id.).                  The government

expresses no objection, but requests that Defendant submit in

advance of any such hearing an affidavit of the witness so as to

provide the government fair notice of the testimony (doc. 562).

            The Court finds Kellogg’s motion and the government’s

Response both well-taken.           Accordingly, the Court grants such

motion with the condition that Defendant file in advance of the



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      The Court notes that the forfeiture allegation in the
Indictment amounted to $100 million. Despite Defendants’
arguments to the contrary, the government was within its rights
to increase the amount it seeks in forfeiture based on its
discovery of new information. United States v. Brown, No. 04-CR-
159(NGG), 2006 U.S. Dist. LEXIS 48278, *16-18 (E.D.N.Y.
2006)(Indictment does not need to list item by item all the
property the government seeks in forfeiture, but rather must
place Defendant on notice that the government will be seeking
forfeiture pursuant to the appropriate statute).

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hearing an affidavit of any witness he intends to use.

VI. Conclusion

            Having reviewed these matters, the Court finds both

pending motions well-taken.           Accordingly, the Court GRANTS the

government’s Motion to Amend the Preliminary Order of Forfeiture to

Include    Proceeds    and    Money      Laundering       Money    Judgments    and

Substitute Assets (doc. 488), such that the Defendants involved in

the mail, wire, and bank fraud conspiracy are jointly and severally

liable    for    $459,540,000.00    in    a    proceeds    money    judgment    and

Defendants Steven Warshak, Harriet Warshak, and Paul Kellogg are

jointly    and    severally   liable     for       $44,876,781.68    in   a    money

laundering judgment.      Defendants further forfeit right, title, and

interest   to    substitute    property       to    the   extent   that   directly

forfeitable property does not satisfy the money judgments.                      The

Court DIRECTS the government to prepare and file forthwith such an

amended Preliminary Order, consistent with this decision, for the

Court’s signature.        The Court further ORDERS the government to

provide the requisite public notice of the amended Preliminary

Order so as to protect the interests of any third parties.                       21

U.S.C. § 853(n)(1).

            The Court further GRANTS Defendant Paul Kellogg’s Motion

for an Evidentiary Hearing with Regards to Sentencing Issues (doc.

561), and SETS such hearing for Tuesday, August 26, 2008, at 9:30

A.M.   Defendant shall file in advance of such hearing an affidavit


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of any witness he intends to use at such hearing.             Finally, taking

into account that sentencing in this matter will take place in late

August, the Court ORDERS that any sentencing memoranda be filed by

August 1, 2008.



            SO ORDERED.


Dated: July 8, 2008                  /s/ S. Arthur Spiegel
                                    S. Arthur Spiegel
                                    United States Senior District Judge




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